        Case 2:12-cv-00859-LMA Document 1268 Filed 04/17/20 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA


 LASHAWN JONES, ET AL.                               CIVIL ACTION NO. 12-859

 VERSUS                                              SECTION I, DIVISION 1

 MARLIN GUSMAN, ET AL.                               JUDGE LANCE M. AFRICK
                                                     MAGISTRATE JUDGE NORTH


                                      STATUS REPORT

       The City of New Orleans (the “City) hereby submits a Status Report on the progress of the

Temporary Detention Center (“TDC”) renovation and the construction of Phase III of the Orleans

Justice Center (“OJC”) facility, in response to the Court’s Order of March 18, 2019. R. Doc. 1227.

       The TDC team continues to meet weekly (via teleconference) to review critical items. The

contractor continues to make progress. It is noteworthy, however, that the COVID-19 global

pandemic is impacting the labor-force and material delivery. Overall the project is 82% complete.

It is anticipated that by the end of April, Building 1 will be 90% complete and Building 2 will be

95% complete. The projected construction completion date is eight (8) months from the notice to

proceed. The new anticipated substantial completion date is late-May 2020.

       The architect, Grace/Hebert Architects, is currently engaged in the Construction Document

(“CD”) phase of Phase III. The projected project completion is summer 2022.

                                             Respectfully submitted,


                                             /s/ Sunni J. LeBeouf
                                             SUNNI J. LeBEOUF (LSBA #28633)
                                             City Attorney
                                             Email: sunni.lebeouf@nola.gov
                                             DONESIA D. TURNER (LSBA #23338)
       Case 2:12-cv-00859-LMA Document 1268 Filed 04/17/20 Page 2 of 2



                                             Email: donesia.turner@nola.gov
                                             Sr. Chief Deputy City Attorney
                                             CHURITA H. HANSELL (LSBA #25694)
                                             Chief Deputy City Attorney
                                             Email: chhansell@nola.gov
                                             1300 PERDIDO STREET
                                             CITY HALL-ROOM 5E03
                                             NEW ORLEANS, LOUISIANA 70112
                                             TELEPHONE: (504) 658-9800
                                             FACSIMILE: (504) 658-9868

                                             Counsel for the City of New Orleans



                                CERTIFICATE OF SERVICE

       I certify that on April 17, 2020, a copy of the foregoing has been served upon all parties to

this proceeding by CM/ECF notification.

                                             /s/ Sunni J. LeBeouf
                                             SUNNI J. LeBEOUF
